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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
ISADELLA BELL
8638 Village of Fondren Dr.
Houston, TX 77071 CASE NO.:

Plaintiff, : JURY DEMAND REQUESTED
ve. | UNLAWFUL DEBP COLLECTION PRACTICES
PREMIER RECOVERY GROUP
PO Box 262
Buffalo, NY 14209

Defendant.

i;
VERIFIED COMPLAINT

ISADELLA BELL (Plaintiff), by her attorneys, THE RIFFE LAW FIRM,
P.L.L.C., alleges the following against PREMIER RECOVERY GROUP (Defendant):

INTRODUCTION
1. Plaintiffs Complaint is based on the Fair Debt Collection Practices Act, 15
U.S.C. 1692 et seq. (FDCPA).
JURISDICTION AND VENUE
2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states
that such actions may be brought and heard before “any appropriate United

States district court without regard to the amount in controversy,” and 28
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U.S.C. 1867 grants this court supplemental jurisdiction over the state claims
contained therein.

3. Because Defendant conducts business in Texas, personal jurisdiction is
established.

4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

PARTIES

5. Plaintiff is a natural person who resides in Houston, Harris County, Texas
and is allegedly obligated to pay a debt, and Plaintiff is a “consumer” as that
term is defined by 15 U.S.C. 1692a(9).

6. Pursuant to the definitions outlined in 15 U.S.C. 1692a(1-6) Defendant is a
debt collector and sought to collect a consumer debt from Plaintiff which was
allegedly due and owing from Plaintiff, and Plaintiff is a consumer debtor.

7. Defendant is a debt collector with an office in
Buffalo, New York.

8. Defendant uses instrumentalities of interstate commerce or the mails in any
business the principal purpose of which is the collection of any debts, or who
regularly collects or attempts to collect, directly or indirectly, debts owed or
due or asserted to be owed or due another and is a "debt collector" as that
term is defined by 15 U.S.C. § 1692a(6).

9. Defendant is a collection agency that in the ordinary course of business,

regularly, on behalf of itself or others, engages in debt collection.
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FACTUAL ALLEGATIONS

10. Defendant constantly and continuously places collection calls to Plaintiff
seeking and demanding payment for an alleged debt.

11. Defendant called Plaintiff and used offensive language and personal verbal
attacks during multiple telephone calls in an attempt to collect a debt.

12. Defendant called Plaintiff from telephone number: 866-364-6516 and 800-
801-9078.

13. Defendant places collection calls to Plaintiff on telephone number: 832-921-

9404,

COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

14. Defendant violated the FDCPA based on the following:

a. Defendant violated §1692d of the FDCPA by engaging in conduct the
natural consequence of which is to harass, oppress, or abuse the
Plaintiff in connection with the collection of a debt.

b. Defendant violated §1692d(5) of the FDCPA by causing a telephone to
ring and engaging Plaintiff in telephone conversations repeatedly and
continuously with the intent to annoy, abuse, and harass Plaintiff.

c. Defendant violated §1692f) of the FDCPA by collecting any amount
(including any interest, fee, charge, or expense incidental to the
principal obligation) unless such amount is expressly authorized by

the agreement creating the debt or permitted by law.
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WHEREFORE, Plaintiff, ISADELLA BELL respectfully requests judgment
be entered against Defendant, PREMIER RECOVERY GROUP for the following:
15. Statutory damages of $1000.00 pursuant to the Fair Debt Collection
Practices Act, 15 U.S.C. 1692k,
16. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection
Practices Act, 15 U.S.C. 1692k

17. Any other relief that this Honorable Court deems appropriate.

DEMAND FOR JURY TRIAL

Plaintiff, ISADELLA BELL, requests a jury trial in this case.

Respectfully submitted,
THE RIFFE LAW FIRM, P.L.L.C.

/s/ G. Brad Riffe

G. BRAD RIFFE
State Bar # 24062265
Attorney for Plaintiff

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PRIFICATION OF COMPLAINT AND CERTIFICATION

 

STATE OF TEXAS

Plaintiff, ISADIELLA BILL, states the following:

1 am the Plaintiff in this civil proceeding.

I have road the above-entitlod civil Complaint propared by my attornoys and |
believe that all of the facts contained in it are true, to the bast of my knowledge,
information and belief formed after reasonable inquiry.

I believe thal this civil Complaint is well grounded in fact and warrunted by
existing law or by a good faith argument for the extension, modification or
reversal of existing law.

T believe Lhat. this civil Complaint is not interposed for any improper purposa,
sucb as to harass uny Defendant(s), cause unnecessary delay lo any
Defendant(s), or create a needless increase in the cost of litigation to any
Defendant(s). named in the Complaint.

[ have filed this Complaint in good faith and solely for the purposes set, forth in
il.

Pursuant to 28 U.S.C. § 1746(@), 1, ISADELLA BELL, hereby declare (or certify,

verily or slate) under ponalty of perjury that the foregoing is true and correct.

Date

 

ISADELLA BELL
